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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                            )
                                                     )
v.                                                   )      Case No. 22-cr-14-APM
                                                     )
JONATHAN WALDEN,                                     )

                          UNOPPOSED MOTION TO CONTINUE

       Comes now the defendant in the above style cause and respectfully requests this

Honorable Court to entertain this motion and there after enter an order continuing the trial

of this matter from its current setting of April 3, 2023 until a date in the foreseeable future.

As grounds therefore, defendant would show unto the Court the following:

       1.       No previous motion requesting the relief herein has been filed.

       2.       This defendant has at all times been represented by counsel of his choosing,

                Ed MacMahon, who was hired by this defendant as lead counsel in this

                District. Defendant Walden would like to maintain that his right to counsel of

                his choosing is consistent with the representations made in this pleading.

       3.       Mr. MacMahon has recently suffered a setback with respect to a medical issue

                he has that is currently interfering with his ability to actively participate in a

                trial.

       4.       Defendant Walden has, at all times, desired the active representation of his

                choice as a lead counsel, Ed MacMahon.

       5.       Circumstances currently prohibit counsel Ed MacMahon from participating in

                a trial of this matter in any degree or for any duration.

       6.       Counsel MacMahon begins a new treatment protocol starting Monday,
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         March 6, 2023. It is hopeful that his condition will improve in the foreseeable

         future as a result of this new treatment protocol.

7.       This defendant has previously, both in open court, and by way of written

         waiver filed on March 2, 2023 ( doc#36 ) given up his right to a trial by jury,

         and has agreed to a bench trial before this Honorable Court, however, the

         defendant herein specifically requests that counsel of his choosing be allowed

         to perform the job for which he was engaged to be lead counsel.

8.       The contents of this motion have been discussed with counsel MacMahon and

         counsel for the United States government, AUSA Troy Edwards, and the

         defendant, none of whom object to the granting of this motion asking the

         court’s consideration of a continuance of this matter to a period of time in the

         foreseeable future.

9.       Both the government and defense counsel do not anticipate this case

         requiring more than two to three days to try before this Honorable Court.

10.      The granting of this motion is in the interest of justice, the interest of this

         defendant, and does not work an undue burden on the United States of

         America.

11.      All parties are mindful that the court has the ultimate authority in decision

         making, and the consideration of other collateral matters relative to setting

         aside a period of days within which to conduct this trial.

12.      For the aforementioned reasons that defendant waives his Sixth Amendment

         right to speedy trial. Defendant is aware of the fundamental protection

         guaranteed to all criminal defendants under the Sixth Amendment, that is, the
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               right to a speedy trial and in federal cases, the right conferred under 18 U.S.C.

               3161 to a trial within 70 days from date of indictment. Defendant is also

               aware of statutory and case law interpreting and reaffirming his right to a

               speedy trial. Defendant moves for a continuance of his trial until a later date

               to be determined by the Court.         Defendant acknowledges that such a

               continuance is in his own best interest. Thus, with this waiver, defendant

               consents to a continuance of the trial until a later date and waives his right to

               a speedy trial under the Sixth Amendment and 18 U.S.C. 3161.

       WHEREFORE, PREMISES CONSIDERED, undersigned counsel respectfully request this

matter be reset for a bench trial at a later date, not less than 90 days from the current

setting.

                                                   Respectfully submitted,




                                                   /s/ Thomas J. Spina
                                                   Thomas J. Spina
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 3, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
attorneys of records.

                                                  /s/ Thomas J. Spina
                                                  Thomas J. Spina
